Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 1 of 13 Page ID #26255




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


                                                              )
   IN RE: PARAQUAT PRODUCTS LIABILITY                         )
   LITIGATION                                                 )
                                                              )
   This document relates to:                                  )   Case No. 3:21-md-3004-NJR
                                                              )
   Richter, et al., v. Syngenta AG, et al., No. 3:21-cv-571   )   MDL No. 3004
   Fuller, et al., v. Syngenta AG, et al., No. 3:21-pq-836    )
   Burgener v. Syngenta AG, et al., No. 3:21-pq-1218          )   Hon. Judge Nancy J. Rosenstengel
   Coward v. Syngenta AG, et al., No. 3:21-pq-1560            )
                                                              )
                                                              )


                     DEFENDANTS’ ROADMAP BRIEF IN SUPPORT OF
                     SUMMARY JUDGMENT AND RULE 702 MOTIONS
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 2 of 13 Page ID #26256




                                          INTRODUCTION

     Parkinson’s disease (“PD”) has existed for thousands of years—since humans began living

  long enough to develop it. As one of the most common age-related neurological diseases in the

  world, it has been exhaustively studied since it was first given a name 200 years ago. Paraquat,

  for its part, has been on the U.S. market for nearly 60 years and has been sold all over the world.

  Thousands of studies—by Defendants and independent scientists alike—have evaluated its safety.

  And the hypothesis that a connection exists between paraquat and PD has been tested extensively

  since it was first raised decades ago. But after all that research, no study in the peer-reviewed

  literature concludes that paraquat causes PD. To the contrary, the independent, peer-reviewed

  literature has reported “a consensus in the scientific community that the available evidence does

  not warrant a claim that paraquat causes [PD].” Ex. 1 (Weed 2021) at 183 (emphasis added). That

  was the state of the science when this MDL was formed; it remains so today.

     Nevertheless, Plaintiffs offer a single expert willing to opine that paraquat causes PD; others

  adopt and rely on that assumption. But in their scientific work, Plaintiffs’ experts have said the

  opposite, or failed to address the question at all. Their opinions in this litigation are not based on

  some new truth that the entire scientific community has failed to discover; rather, Plaintiffs’

  experts abandoned rigorous scientific methodology to manufacture unreliable, novel opinions for

  purposes of this litigation. But as the Seventh Circuit has cautioned: “Law lags science; it does

  not lead it.” Rosen v. Ciba-Geigy Corp., 78 F.3d 316, 319 (7th Cir. 1996); see also In re Zantac

  (Ranitidine) Prod. Liab. Litig., 2022 WL 17480906, at *4 (S.D. Fla. Dec. 6, 2022) (excluding

  Plaintiffs’ causation experts because “there is no scientist outside this litigation who concluded

  that ranitidine causes cancer”). That principle, if applied faithfully here, should resolve the

  remaining bellwether cases in Defendants’ favor.



                                                    1
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 3 of 13 Page ID #26257




  I.      OVERVIEW OF THE SCIENTIFIC CONSENSUS: PARAQUAT DOES NOT CAUSE PD.

       PD is a naturally occurring neurodegenerative disease that affects about one million people in

  North America and more than six million worldwide. See Ex. 2 (Elbaz 2002) at 29. First identified

  by Dr. James Parkinson in 1817, PD is the second most common age-related neurogenerative

  disease in the world. See Ex. 3 (Olanow 2022) at 3122. But PD afflicted humans long before Dr.

  Parkinson’s day, and centuries before paraquat or other synthetic chemicals existed; descriptions

  of its clinical features were recorded as far back as Ancient Egypt. See generally Ex. 4 (Raudino

  2012). Despite centuries of study, PD’s cause remains unknown in 85-90% of cases, see Ex. 3

  (Olanow 2022) at 3130, with genetic mutations accounting for the remaining 10-15%, see Ex. 5

  (Blauwendraat 2020) at 170; Ex. 6 (Lang 2020) at 2417.

       Paraquat was first sold in the U.S. in 1964, but scientists did not even hypothesize a potential

  connection to PD until the mid-1980s. At that time, doctors discovered a chemical byproduct of

  synthetic heroin production (called MPTP) that could cause rapid-onset PD-like motor symptoms

  (“parkinsonism”)—but not PD—in drug users who injected MPTP-contaminated heroin. See Ex.

  7 (Langston 1983) at 979-80. This led scientists to hypothesize that environmental factors might

  cause PD. Because paraquat bears some superficial molecular similarity to MPTP, it was one of

  many chemicals that scientists began to investigate. See Ex. 8 (Langston 2017) at S16. Research

  revealed important differences between MPTP and paraquat, however, including that paraquat

  does not cause rapid-onset movement disorders in humans—even at high doses. Ex. 9 (A. Lang

  Dep. Tr.) at 202:19-205:13.

       In the decades since, hundreds of studies have been conducted to investigate the hypothesis

  that paraquat might cause PD. These studies fall into two broad categories: studies of human

  populations exposed to paraquat, and studies of animals (mostly rodents) exposed to high doses of

  paraquat (mostly by injection). This overall body of evidence has repeatedly been analyzed in
                                                    2
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 4 of 13 Page ID #26258




  review articles, where scientists draw conclusions about the current state of scientific evidence.

  Ex. 9 (A. Lang Dep. Tr.) at 215:19-216:5. Not a single review article has concluded that paraquat

  causes PD, as even Plaintiffs’ own expert in PD etiology (causation), Dr. Anthony Lang, admitted

  at his deposition. Ex. 9 (A. Lang Dep. Tr.) at 214:22-215:24; 47:25-49:2.

     Instead, the consensus in the peer reviewed literature is that the available evidence does not

  show that paraquat causes PD. Recently, the journal NeuroToxicology published a peer-reviewed

  “review of reviews” that assessed the published review articles “where epidemiological studies on

  paraquat and [PD] were collected, described, and interpreted along with discussions of biological

  plausibility, that is, the mechanism by which paraquat could induce [PD] at the molecular level.”

  Ex. 1 (Weed 2021) at 180. That study reviewed the work of 46 scientists across 12 peer-reviewed

  articles, spanning from 2006 to 2019. Id. at 181. After surveying that field, it reported that no

  review concluded paraquat causes PD (regardless of methods used or funding source), and instead

  found “a consensus in the scientific community that the available evidence does not warrant a

  claim that paraquat causes Parkinson’s disease.” Id. at 183 (emphasis added).

     That 2021 article is not the first to reach this opinion after surveying the literature. Independent

  scientists have done so time and again when assessing the paraquat-PD hypothesis. For example,

  in 2009, a multidisciplinary group of experts (including toxicologists, epidemiologists, geneticists,

  neuroscientists, and medical practitioners) met “to assess what is known about the contribution of

  environmental factors to PD” and “[t]o identify conclusions that could be drawn with confidence

  from existing data,” among other things. Ex. 10 (Bronstein 2009) at 118. That group evaluated

  dozens of environmental factors hypothesized as potential causes of PD, including dairy intake,

  lack of exercise, genetics, vitamin intake, farming, fat consumption, well water, increased BMI,

  higher educational attainment, and paraquat, among many others. The scientists placed each factor



                                                    3
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 5 of 13 Page ID #26259




  in one of four categories according to the strength of evidence linking them to PD. See id. at 118-

  19. After extensive review, this group of scientists placed paraquat in the lowest possible category:

  insufficient evidence to determine whether there is any association between paraquat and PD (let

  alone a causal relationship). Id. at 119.

      The Agricultural Health Study (“AHS”)—the longest-term prospective epidemiology study

  ever conducted of pesticide exposure and PD in U.S. agricultural workers—recently reached the

  same conclusion. Ex. 11 (Shrestha 2020). 1 The AHS was conducted in the U.S. by independent

  scientists working for various public health agencies and followed more than 38,000 chemical

  applicators plus over 27,000 of their spouses (66,110 participants in total) for 25 years. See id. at

  2. In 2020, AHS scientists published their long-awaited findings and reported no statistically

  significant increased risk. In fact, those who used paraquat the most had the lowest PD risk—

  25% lower than those who never used paraquat at all. See id. at Table 4.

      The EPA agrees too: There is insufficient evidence to support a claim that paraquat causes PD.

  Since the paraquat-PD hypothesis emerged in the 1980s, the EPA has twice comprehensively

  reevaluated paraquat’s safety; each time, the agency reaffirmed that it is safe for its intended use

  as an herbicide. Ex. 13 (EPA July 2021) at 17-18. An additional review in 2021 specifically

  evaluated the paraquat-PD hypothesis, determining that there was insufficient evidence of a clear

  associative or causal relationship paraquat exposure and PD. Id. at 17. As part of the EPA’s most

  recent review process, a panel of EPA scientists, in conjunction with the U.S. National Toxicology

  Program, completed an eight-year study (spanning three separate administrations) analyzing all of


  1
    The AHS study update by Shreshta et al. was a follow-up to an older study that previously reported a
  statistically significant increased risk. See Ex. 14 (Tanner 2011). After considering a larger and more
  updated data set, the AHS failed to replicate the findings of the earlier study. See Ex. 12 (EPA June 22,
  2021) at 77 (“Notably, Shrestha et al. (2020) did not replicate the earlier AHS findings reported by Tanner
  et al. (2011)….”).


                                                      4
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 6 of 13 Page ID #26260




  the evidence in the existing literature on paraquat and “PD-like” pathologies—including 28

  epidemiology studies, 217 animal studies, and 244 lab studies. See Ex. 15 (EPA June 2019) at 29.

  The EPA, like the broader scientific community, determined that “the weight of evidence was

  insufficient to link paraquat exposure from pesticidal use of US registered products to [PD] in

  humans.” Id. at 4, 6, 7; Ex. 13 (EPA July 2021) at 18. What is more, the EPA’s assessment

  specifically rejected comments like those advanced by Plaintiffs here, including that “laboratory

  animal and mechanistic data” might provide “evidence that there is an association between

  paraquat exposure and PD.” Ex. 16 (EPA Sept. 2020) at 2 (explaining that high-dose injections of

  animals with paraquat were not useful in assessing risk to farmers, and reiterating “conclusion that

  the weight of evidence was insufficient to link paraquat exposure … to PD in humans”).

     Thus, over the past five years, there have been three independent, exhaustive scientific analyses

  evaluating the paraquat-PD hypothesis: (1) the NeuroToxicology review of the scientific literature;

  (2) updated results from the AHS epidemiology study of U.S. farmers; and (3) the EPA’s latest

  safety assessment of paraquat. Those scientists all agree: No evidence establishes that paraquat

  causes PD. These studies contradict and undermine the handful of smaller, older studies Plaintiffs

  cite that had suggested further study of a potential association between paraquat and PD.

     Tellingly, outside this litigation, Plaintiffs’ own experts have consistently denied that paraquat

  is a proven cause of PD. For example, Dr. Peter Spencer has repeatedly published texts concluding

  “[t]here is no evidence that paraquat induces parkinsonism.” Ex. 17 (Spencer 1995) at 328

  (emphasis added); see also Ex. 18 (Spencer 2000) at 943 (calling it “unlikely that paraquat is

  neurotoxic to humans …. Epidemiological studies of rural and urban populations have failed to

  demonstrate a robust correlation between historical deployment of paraquat and clusters of [PD]

  cases.” (emphasis added)). Similarly, Plaintiffs’ specific-causation expert, Dr. Lang, wrote a book



                                                   5
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 7 of 13 Page ID #26261




  on PD in which he discussed the scientific evidence of associations between pesticides (including

  paraquat) and PD, and concluded that it does not show any consistent association—let alone

  causation. Ex. 19 (Lang 2013) at 19-21, 28-30.

           At bottom, Plaintiffs’ experts offer causation opinions that they have never submitted to

  the rigors of peer review and publication, that run counter to the scientific consensus, and that

  contradict their own out-of-court publications. In doing so, they fail to employ the same level of

  scientific rigor they use outside of court and instead rest on unreliable analyses, speculative

  extrapolation from flawed evidence, and blind adoption of lawyer-fed assumptions. This is

  precisely the kind of unreliable litigation-science the Court must guard against as gatekeeper.

  II.      OVERVIEW OF RULE 702 MOTIONS: PLAINTIFFS’ EXPERTS SHOULD BE EXCLUDED.

        Plaintiffs found a single expert, Dr. Martin Wells, willing to opine that a causal association

  exists between paraquat and PD. Dr. Wells is an oft-excluded statistician who—until now—has

  disclaimed his ability to opine on general causation. But here, Dr. Wells claims to have the

  expertise to offer a sweeping general causation opinion that the scientific community has never

  reached. As in prior cases, Dr. Wells employs “ramshackle,” “results-driven” methodologies (if

  they can be called methodologies at all) that fail to “objectively” examine the data. See Defs.’

  Mot. To Exclude Wells at 1. Indeed, Dr. Wells reaches his opinions only by cherry-picking data

  and disregarding contrary evidence like the AHS study. After his deposition, Dr. Wells attempted

  to backfill—belatedly inventing a brand new (and previously undisclosed) “methodology” that,

  not coincidentally, resulted in the exact same conclusions he had already reached. Neither of his

  reports comes anywhere close to meeting Rule 702 or Daubert’s standards.

        For specific causation, Plaintiffs claim to rely on Dr. Anthony Lang, a neurologist. In reality,

  however, Dr. Lang’s role is merely to serve as a mouthpiece for Dr. Wells, lending an air of

  credibility to opinions that Dr. Lang has rejected outside this litigation. Dr. Lang is the only of
                                                     6
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 8 of 13 Page ID #26262




  Plaintiffs’ experts who is an expert in PD etiology, and has published extensively on the potential

  causes of PD. Yet rather than independently analyze those issues (or any other issue in the case),

  Dr. Lang accepts two critical assumptions provided to him by Plaintiffs’ counsel: (1) that Dr. Wells

  is correct that paraquat causes a 2.8x increase in the risk of PD; and (2) that the increased risk Dr.

  Wells estimated can be applied to each Plaintiff. Relying exclusively on these assumptions—and

  without assessing or pressure-testing them in any way—Dr. Lang opines that those assumptions

  mean paraquat caused each bellwether Plaintiff’s PD, without any additional analysis. Dr. Lang’s

  parroting of Dr. Wells’s opinions is not expert testimony. Moreover, Dr. Lang’s wholesale

  reliance on Dr. Wells’s conclusions means no specific causation expert has attempted to adjust for

  individual dose, family history, or any other established PD risk factors. Any reliable specific

  causation opinion must account for those issues—but Dr. Lang’s does not. 2

      Both causation opinions also rest, in part, on toxicologist Dr. Vanessa Fitsanakis, who says it

  is biologically plausible that paraquat causes PD. Dr. Fitsanakis reaches this conclusion based on

  experimental studies in which scientists injected animals (usually rodents) with doses of paraquat

  thousands of times larger than the doses human workers absorb in real-world occupational use.

  To justify that leap, Dr. Fitsanakis invents a “theoretical exposure” model to argue that a worker

  could “hypothetically” be exposed to high doses equivalent to those injected into animals in labs.

  Among other extraordinary assumptions, that model assumes a paraquat user would spray paraquat

  for seven consecutive days while covered from head to toe in tens of thousands of open scratches

  and abrasions. Unsurprisingly, no Plaintiff alleges any facts even approaching those assumptions.

  Dr. Fitsanakis’s testimony is so untethered from both science and the record as to be inadmissible.



  2
   The testimony of Plaintiff Coward’s specific causation expert—Dr. Binit Shah—suffers from the same
  problems and should be excluded for the same reasons.


                                                    7
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 9 of 13 Page ID #26263




     Similar problems infect the opinions of Mr. Stephen Petty. Real-world scientific studies have

  shown that human applicators receive tiny doses of paraquat (if any dose at all) thousands of times

  less than those used in the animal studies Plaintiffs’ experts rely on. So Plaintiffs strategically

  chose not to have Mr. Petty calculate any Plaintiff’s dose. Instead, he conducted unrecorded

  interviews of Plaintiffs, created summaries that contradict Plaintiffs’ sworn testimony, and then

  destroyed his contemporaneous notes.       Mr. Petty also offers opinions based on numerous

  unsupported analytical leaps, cherry-picked data, and a for-litigation methodology that contradicts

  scientific consensus. In any event, there is no evidence that paraquat causes PD even at Mr. Petty’s

  (and Dr. Fitsanakis’s) massively inflated theorized exposures.

     Ms. Cynthia Rando presents testimony on the supposed insufficiency of paraquat’s warnings,

  opining that no warning could ever be sufficient if a product carries a risk of PD, as she assumes

  (based on instructions from Plaintiffs’ counsel) that paraquat does. She therefore concludes that

  paraquat should not have been sold (with any label) unless the product itself was somehow

  redesigned. In other words, Ms. Rando purports to opine that paraquat is defectively designed—

  yet does so with no expertise whatsoever in pesticides, and by applying only her own idiosyncratic

  standard rather than applicable law. Moreover, Ms. Rando’s opinions are based on unsupported

  assumptions that not even Plaintiffs’ other experts sponsor, and an unreliable methodology that

  does little more than depict in visual form those baseless assumptions.

     Plaintiffs offer two experts, Dr. Peter Spencer and Dr. Michael Siegel, who opine on what

  they believe Defendants should have known or done differently over time: Dr. Spencer focuses on

  the period prior to 1986, while Dr. Siegel’s opinions reach to the present. Neither expert followed

  any reliable methodology. Dr. Spencer admitted he viewed his role as looking for any evidence

  that paraquat could have neurological effects—regardless of what the overall scientific literature



                                                   8
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 10 of 13 Page ID #26264




  showed. After selecting this biased sample, Dr. Spencer declined to apply any objective standard,

  asking himself only “what Peter Spencer would have done prior to 1980.” And while Dr. Siegel

  claims he applied a weight-of-the-evidence approach, all the weighing took place only in his mind,

  and his conclusions are connected to the evidence based only on his ipse dixit. These unreliable,

  nonreplicable approaches cannot pass muster under Rule 702 or Daubert.

         Finally, Plaintiffs rely on Dr. David Mortensen, an agronomist, to opine that Plaintiffs had

  viable alternatives to paraquat. But those Plaintiff-specific opinions were provided after Plaintiffs’

  expert report deadline, yet before Defendants served their own reports. Because Dr. Mortensen’s

  Plaintiff-specific opinions were not offered in either his principal report nor in a true rebuttal

  report, those opinions are improper and should be stricken. Regardless, the opinions are also

  unreliable because Dr. Mortensen did not follow any of his usual methods in reaching them. He

  merely reviewed a one-page bullet-point summary of facts prepared by Plaintiffs’ counsel.

  III.      THE COURT SHOULD GRANT SUMMARY JUDGMENT TO DEFENDANTS.

         Defendants have also filed three summary judgment motions, which should be granted even if

  Plaintiffs’ expert testimony is admitted—and a fortiori if it is excluded.

         As the Joint Motion explains, Plaintiffs’ design-defect claims fail as a matter of law because

  paraquat is the characteristic ingredient of paraquat products—not a design choice. The proper

  theory in this situation is failure-to-warn, but that theory also fails here: For one, Plaintiffs failed

  to heed the already-extensive label warnings on paraquat, making it impossible to conclude that a

  PD warning would have avoided their injuries. For another, failure-to-warn claims are preempted

  by federal law given the EPA’s position that there is no established causal link between paraquat

  and PD. The counts under the Illinois Consumer Fraud Act fail for the same and additional

  reasons, including that they are barred by a statutory safe harbor and that Plaintiffs lack statutory

  standing. And the implied warranty claims are coextensive with all the others; under Florida law,
                                                     9
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 11 of 13 Page ID #26265




  moreover, implied warranty plaintiffs must be in privity with the defendant, which Mr. Coward

  admittedly was not. Finally, Plaintiffs fail to establish causation as to all claims because their

  experts do not provide either a threshold dose at which paraquat is capable of causing PD, or

  calculate specific doses that the individual Plaintiffs absorbed.

     Chevron’s Motion explains that it is independently entitled to summary judgment because its

  predecessor left the paraquat market over 35 years ago, in 1986. Combined with Plaintiffs’

  complete failure to establish even one of the three elements of fraudulent concealment tolling, that

  means the Illinois strict liability and warranty claims are barred by the applicable statutes of repose

  and limitations. And because even Plaintiffs’ own experts admit there was no scientific consensus

  in 1986 that paraquat could cause PD, all of the remaining claims are barred by the state-of-the-art

  doctrine. Sellers are not expected to know what science does not. At minimum, those facts mean

  there is no basis for any punitive damages claims against Chevron.

     Finally, Syngenta’s Motion explains that Syngenta is independently entitled to summary

  judgment on certain claims because they are time-barred. In particular, testimony by Plaintiffs

  Burgener, Richter, and Coward conclusively establishes that many of their claims accrued outside

  the applicable statutes of limitation and repose. Those three Plaintiffs also cannot rely on the

  doctrine of fraudulent concealment to toll the limitations period because Syngenta acknowledged

  the paraquat-PD hypothesis many years ago, and Plaintiffs’ ordinary diligence into the nature of

  their injuries would have revealed the existence of their asserted claims—implausible as they are.

                                            *       *       *

     In sum, Plaintiffs lack the necessary support in fact, law, and expert opinion to support their

  various claims at trial. The Court should thus grant summary judgment to Defendants.




                                                    10
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 12 of 13 Page ID #26266




   June 7, 2023                          Respectfully submitted,

   /s/ Ragan Naresh                      /s/ Sharyl A. Reisman
   Ragan Naresh                          Leon F. DeJulius, Jr.
   KIRKLAND & ELLIS LLP                  Sharyl A. Reisman
   1301 Pennsylvania Ave., N.W.          Traci L. Lovitt
   Washington, D.C. 20004                JONES DAY
   Telephone: 202.389.5000               250 Vesey Street
   Fax: 202.389.5200                     New York, NY 10281
   ragan.naresh@kirkland.com             Telephone: 212.326.3939
                                         Fax: 212.755.7306
   Leslie M. Smith, P.C.                 lfdejulius@jonesday.com
   Bradley H. Weidenhammer, P.C.         sareisman@jonesday.com
   Britt Cramer                          tlovitt@jonesday.com
   Zachary D. Holmstead
   KIRKLAND & ELLIS LLP                  Counsel for Chevron U.S.A. Inc.
   300 North LaSalle Chicago, IL 60654
   Telephone: 312.862.2000
   Fax: 312.862.2200
   leslie.smith@kirkland.com
   bradley.weidenhammer@kirkland.com
   britt.cramer@kirkland.com
   zachary.holmstead@kirkland.com

   Counsel for Syngenta AG         and
   Syngenta Crop Protection, LLC




                                         11
Case 3:21-md-03004-NJR Document 4379 Filed 06/09/23 Page 13 of 13 Page ID #26267




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on June 7, 2023, the foregoing was electronically

  filed using the CM/ECF system, which will send notification of such filing to all counsel of record.

                                                       /s/ Sharyl A. Reiman
                                                       Sharyl A. Reisman

                                                       Counsel for Chevron U.S.A. Inc.
